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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )             8:05CR378
                       Plaintiff,                   )
                                                    )
       vs.                                          )              ORDER
                                                    )
MARCO A. COVARRUBIAS,                               )
                                                    )
                       Defendant.                   )
       This matter is before the court on the motion for an extension of time by defendant
Marcos A. Covarrubias (Covarrubias) (Filing No. 18). Covarrubias seeks an additional three
weeks in which to file pretrial motions in accordance with the progression order (Filing No. 7).
Covarrubias has filed an affidavit wherein he consents to the motion and acknowledges he
understands the additional time may be excludable time for the purposes of the Speedy Trial
Act (Filing No. 20). Upon consideration, the motion will be granted.
       IT IS ORDERED:
       Defendant Covarrubias' motion for an extension of time (Filing No. 18) is granted.
Defendant Covarrubias is given until on or before December 15, 2005, in which to file
pretrial motions pursuant to the progression order. The ends of justice have been served by
granting such motion and outweigh the interests of the public and the defendant in a speedy
trial. The additional time arising as a result of the granting of the motion, i.e., the time
between November 18, 2005 and December 15, 2005, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason
defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice.        18 U.S.C. §
3161(h)(8)(A) & (B).
       DATED this 18th day of November, 2005.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
